92 F.3d 1181
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Clint A. RAMSEY, Plaintiff-Appellant,v.TOYOTA MOTOR SALES, U.S.A., INCORPORATED;  Central AtlanticToyota Distributors, Incorporated;  RobertSkelton;  Randy Pflughaupt;  SteveNiven, Jr., Defendants-Appellees.
    No. 95-3141.
    United States Court of Appeals, Fourth Circuit.
    Submitted July 23, 1996.Decided July 30, 1996.
    
      Clint A. Ramsey, Appellant Pro Se.
      Richard Jeffrey Magid, WHITEFORD, TAYLOR &amp; PRESTON, Baltimore, Maryland, for Appellees.
      Before WIDENER, NIEMEYER, and MICHAEL, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order granting summary judgment to the Defendants in an employment discrimination suit.  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.   Ramsey v. Toyota Motor Sales, No. CA-94-1552-CCB (D.Md. Nov. 7, 1995).  Additionally, we deny the Appellees' motion to strike the Appellant's memorandum in opposition to Appellees' informal brief.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    